        Case 5:19-cv-00296-LPR Document 35 Filed 10/16/20 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                             PINE BLUFF DIVISION

EDWARD DENNIS et al.,                                                      PLAINTIFFS


v.                           Case No. 5:19-cv-00296-LPR


SCHELL & KAMPETER INC.                                                    DEFENDANT

                                     JUDGMENT

      Consistent with the Order that was entered on this date, it is CONSIDERED, ORDERED,

and ADJUDGED that this case is DISMISSED with prejudice.


      IT IS SO ADJUDGED this 16th day of October 2020.



                                            _______________________________
                                            LEE P. RUDOFSKY
                                            UNITED STATES DISTRICT JUDGE
